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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION

In re:                                  )
                                        )
INFOW, LLC                              )                  60020
                                            Case No. 22 - _________
                                        )
            Debtor.                     )   Chapter 11 (Subchapter V)
In re:                                  )
                                        )
IWHEALTH, LLC                           )                  60021
                                            Case No. 22 - _________
                                        )
            Debtor.                     )   Chapter 11 (Subchapter V)
In re:                                  )
                                        )
PRISON PLANET TV, LLC                   )                  60022
                                            Case No. 22 - _________
                                        )
            Debtor.                     )   Chapter 11 (Subchapter V)

DEBTORS’ EMERGENCY APPLICATION FOR INTERIM AND FINAL ORDERS (A)
     AUTHORIZING EMPLOYMENT OF W. MARC SCHWARTZ AS CHIEF
 RESTRUCTURING OFFICER, (B) AUTHORIZING EMPLOYMENT OF STAFF OF
    SCHWARTZ ASSOCIATES, LLC IN DISCHARGE OF DUTIES AS CHIEF
     RESTRUCTURING OFFICER, AND (C) GRANTING RELATED RELIEF
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THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS
SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS
THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

EMERGENCY RELIEF HAS BEEN REQUESTED AND IF THE COURT CONSIDERS THIS
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN TWENTY-
ONE (21) DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF, OR IF YOU
BELIEVE THAT EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

RELIEF IS REQUESTED ON OR BEFORE APRIL 22, 2022.


       InfoW, LLC (“InfoW”), IWHealth, LLC (“IW Health”), and Prison Planet TV, LLC

(“Prison Planet TV”, and together with InfoW and IW Health, the “Debtors”), the debtors and

debtors-in-possession in the above-captioned chapter 11 cases, hereby move for entry of an order

substantially in the form attached hereto (the “Proposed Order”) pursuant to sections 105(a) of title

11 of the United States Code (the “Bankruptcy Code”) and Rule 6003 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing the retention of W. Marc Schwartz

(the “Proposed CRO”) of Schwartz Associates, LLC (“SALLC”) as their Chief Restructuring

Officer (the “Application”) pursuant to that certain engagement letter agreement by and between

the Debtors and SALLC, a copy of which is attached hereto as Exhibit A (the “Engagement

Agreement”). In support of the Application, the Debtors submit the Declaration of W. Marc

Schwartz attached hereto as Exhibit B (the “Schwartz Declaration”) and respectfully represent as

follows:


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                           REQUEST FOR EMERGENCY HEARING

       1.        The Debtors seek emergency consideration of this Application on or before April

22, 2022, or as soon after as the Court’s schedule will allow. Appointment of a chief restructuring

office to perform the services set forth in the Engagement Agreement is necessary for the Debtors

to adequately perform their duties as debtors-in-possession, including preparation of schedules of

assets and liabilities, compliance with reporting requirements, and preparation of financial

information and testimony.

                                          JURISDICTION

       2.        The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This matter is a core

proceeding under 28 U.S.C. § 157(b)(2)(A). Venue is proper before this Court pursuant to 28

U.S.C. § 1408.

       3.        The bases for the relief requested herein are sections 105, 327, and 363(b) of title

11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and 6003 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2016-1 of the Local Rules for the

Bankruptcy Court for the Southern District of Texas (the “Local Rules”).

                                         BACKGROUND

   A. Case Background

       4.        On April 18, 2022 (the “Petition Date”), each of the Debtors commenced a case by

filing a petition for relief under chapter 11, subchapter v, of the Bankruptcy Code (collectively,

the “Chapter 11 Cases”).

       5.        The Debtors continue to operate their businesses and manage their properties as

debtors and debtors-in-possession pursuant to Bankruptcy Code §§ 1107(a) and 1108.



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           6.       As of the filing of this Application, no creditors’ committee has been appointed in

the Chapter 11 Cases by the Office of the United States Trustee for Region 7 (the “U.S. Trustee”).

       B. The Debtors

           7.       The Debtors are holding companies for certain intellectual property assets. Debtor

InfoW, owns copyrights and domain names related to “Infowars.com.” Debtor IWHealth owns

cash flow from royalties and/or an agreement with Youngevity. Debtor Prison Planet TV owns

copyrights and domain names related to prisonplanet.tv.

           8.        “Infowars”—a conspiracy-oriented website and media company—is operated by

Free Speech Systems, LLC (“FSS”), which does business under a registered trademark for that

name. InfoW and Prison Planet TV license their intellectual property and domain names to FSS

for use in its business but the Debtors do not produce or have any control over the content of

Infowars. FSS maintains and operates the website https://www.infowars.com/.1

           9.       Alex E. Jones (“Jones”) owns one hundred percent (100%) of the equity in FSS.

Prior to the Petition Date, Jones also owned one hundred percent (100%) of the equity in InfoW,

IWHealth and Prison Planet TV. He assigned these equity interests to the 2022 Litigation

Settlement Trust (the “Litigation Settlement Trust”) before the Petition Date.

       C. Pending Litigation Against the Debtors

           10.      The Debtors’ financial distress stems primarily from statements of Jones and other

employees of FSS in the wake of the December 14, 2012, mass shooting at Sandy Hook

Elementary School in which 20 children and 6 educators were killed by Adam Lanza. Various

parents of the deceased victims of the Sandy Hook shooting assert, among other things, that these

statements were defamatory and inflicted emotional distress.



1
    The Debtors have been advised that all the assets of FSS serve as collateral to repay obligations to PQPR Holdings.

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         11.      The relatives of the Sandy Hook victims and certain other parties (the “Sandy Hook

Plaintiffs”) assert, among other things, that Jones and other employees of FSS made defamatory

statements and inflicted emotional distress. In 2018, the Sandy Hook Plaintiffs brought actions in

Texas and Connecticut (collectively, the “Sandy Hook Lawsuits”) against Jones, FSS, and certain

of the Debtors. The crux of the allegations in the Sandy Hook Lawsuits is that Jones and FSS

employees damaged the Sandy Hook Plaintiffs by saying or implying that the Sandy Hook

shooting did not occur, and that the entire incident was a “false flag” hoax.

         12.      The Debtors are also defendants in other pending litigation unrelated to the events

at Sandy Hook Elementary School:2

        Marcel Fontaine v. Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and Kit
         Daniels, Cause No. D-1-GN-18-001605, pending before the 459th District Court for Travis
         County, Texas—This case involves an article authored by an FSS employee about the
         shooter at Marjory Stoneman Douglas High School in Parkland, Florida. Iterations of the
         article included a photograph of the plaintiff, even though the plaintiff was not involved
         with the shooting or even in Florida at the time.

        Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, Marcel Fontaine v.
         Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, PQPR Holdings Limited LC,
         JLJR Holdings, LLC, PLJR Holdings, LLC, Carol Jones, David Jones, PQPR Holdings,
         LLC, JLJR Holdings Limited, LLC, AEJ Holdings, LLC, AEJ Trust 2018, Cause No. D-1-
         GN-22-001610, pending before the 200th District Court for Travis County, Texas—This
         lawsuit was brought by the plaintiffs in the other Texas lawsuits under the Texas Uniform
         Fraudulent Transfer Act (“TUFTA”). The allegations are that Jones diverted his assets to
         companies owned by insiders like his parents, his children, and himself. The Plaintiffs seek
         judgment allowing them to take possession and execute on the assets.

        Larry Klayman v Infowars, LLC, et al., Case No. 20-61912, before the U.S. District Court
         for the Southern District of Florida, Fort Lauderdale Division—The plaintiff in this case
         brought claims against InfoWars, LLC, Free Speech Systems, LLC, Alex Jones, David
         Jones, and Owen Shroyer for defamation, Florida Deceptive and Unfair Trade Practices
         Act, tortious interference, and violation of the Lanham Act for publishing disparaging
         statements about the plaintiff. On April 14, 2022, the District Court entered a take-nothing
         judgment in favor of the InfoW and the other defendants. The plaintiff has appealed to the
         Eleventh Circuit Court of Appeals.

2
 On April 11, 2022, the U.S. District Court for the Western District of Virginia entered a Stipulation and Order [Dkt.
No. 504], resolving the defamation action in Brennan M. Gilmore v Alexander E. Jones, et. al., Case No. 3:18-cv-
00017-NKM-JCH, resolving that litigation in exchange for a $50,000 settlement to the plaintiff.

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         13.      Jones, FSS, and the Debtors have spent more than $10.0 million in legal fees and

costs since commencement of the Sandy Hook Lawsuits. Despite the substantial amount spent,

both the Texas and Connecticut courts have imposed multiple sanctions and ruled that Jones, FSS,

and the Debtors failed to comply with discovery requirements such that judgment on liability has

been entered against them by default.3 No court has yet to quantify the amount of the damages.

         14.      The pending litigation presents a classic “race to the courthouse.” The Texas court

is scheduled to be the first damages case to go to trial and is set to commence with jury selection

on April 25, 2022. The damages trial in the Texas actions is scheduled for months before the

damages will be determined in the actions pending in Connecticut.

         15.      Given the limited cash on hand available to the Debtors, Jones, and FSS, there is a

substantial likelihood that efforts to collect on a judgment of the Texas actions would result in

leaving nothing left for the Connecticut Sandy Hook Plaintiffs or other creditors. Indeed, prior to

even liquidating their claims, the Texas plaintiffs sought execution by initiating the TUFTA

litigation.

    D. 2022 Litigation Settlement Trust

         16.      To address the Sandy Hook Lawsuits and other litigation, and preserve assets for

equal distribution to all creditors, the Debtors, Jones, and FSS have created the 2022 Litigation

Settlement Trust (the “Litigation Settlement Trust”) to provide a mechanism for the payment in

full of the litigation claims.

         17.      The Litigation Settlement Trust removes control of the Debtors and settlement

funds from Jones and ensures that any settlement of or judgment in the Sandy Hook Lawsuits and



3
 The applicable Debtors do not intend to challenge any determination of liability entered by the respective state courts
unless the claimant elects to liquidate their claims through continuation of the litigation.

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other litigation will be paid according to the terms of the Declaration of Trust and any plan of

reorganization in these Chapter 11 Cases. The Litigation Trust has been initially funded pursuant

to the funding agreement attached to the Declaration of Trust and the Plan Support Agreement, as

may be amended (the “PSA”). The “Initial Trust Funding” of $725,000 for administration of these

Chapter 11 Cases has been paid to the interim trustee or the Debtors’ professionals from exempt

personal assets of Jones. Upon confirmation of a plan, the Litigation Trust is expected to be funded

with additional funds, including $2,000,000 in cash on the effective date.

       18.       Contemporaneously with this Application, the Debtors have requested an order

authorizing the appointment of former bankruptcy judges Russell F. Nelms and Richard S. Schmidt

to serve as trustees of the Litigation Settlement Trust (the “Litigation Settlement Trustees”).

   E. Proposed Employment of Schwartz as Chief Restructuring Officer

          i.    Scope of Employment

       19.       The Debtors seek to engage the Proposed CRO as chief restructuring officer to

advise and lead the day-to-day restructuring efforts of the Debtors, pursuant to the Engagement

Agreement. The Debtors contemplate that the Proposed CRO will perform some or all the

following tasks:

               a.   Make business and debt restructuring decisions, including as it relates to
                    business strategy(ies) and other key elements of the business;

               b.   Manage due diligence requests and other items requested by various
                    constituents as part of the restructuring process;

               c.   Prepare cash flow forecasts and related financial and business models;

               d.   Identify and implement short and long-term liquidity initiatives;

               e.   Prepare Statements of Financial Affairs and Schedules, Monthly Operating
                    Reports, and other similar regular Chapter 11 administrative, financial, and
                    accounting reports required by the Court, as well as provide necessary
                    testimony before the Court on matters within CRO’s areas of expertise;


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               f.      Review inventory marketability and provide monetization alternatives;

               g.      Make operational decisions with advice of appropriate governance body;

               h.      Implement cost containment measures;

               i.      Negotiate with creditors, prospective purchasers, equity holders, equity
                       committees, official committee of unsecured creditors, and all other parties-in-
                       interest and submit proposals for payment to Third Party Funding Contributors,
                       trustees and the Court;

               j.      Maximize value of the Debtors;

               k.      Oversee all business decisions of Debtors, as necessary or required, utilizing
                       CRO’s business judgment.

               l.      Be authorized, during normal business hours, to (a) review and analyze the
                       books of account, bank accounts, accounting source documents and financial
                       statements of FSS and Jones including, but not limited to, QuickBooks
                       accounts, bank statements and included documents, invoices, credit card
                       processing reports, other documents reflecting cash receipts, invoices received
                       and issued, and other accounting source documents, (b) have read-only access
                       to bank accounts used by FSS Jones in the conduct of their businesses, and (c)
                       have access to the personnel, managers, and/or financial professionals of FSS
                       and Jones to interview and request additional documents or information.

               m.      Execute all documents and take all other acts necessary to effectuate the
                       restructuring of the Debtors, including in any case before the Court, subject to
                       approval of the trustees of the Litigation Settlement Trustees.

       20.          The Proposed CRO will be subject to the oversight and direction of the Litigation

Settlement Trustees, who will have full governance authority over the Debtors.

       21.          Additionally, the Debtors seek authority for other staff of SALLC to perform

services required to assist the Proposed CRO within the scope of this engagement.

         ii.        Necessity of Employment

       22.          The Debtors believe that the retention and employment of the Proposed CRO is

necessary and appropriate to administer these Chapter 11 Cases and ultimately prepare and obtain

confirmation of a plan of reorganization. While the Litigation Settlement Trustees will have

oversight of the Proposed CRO and direct the overall direction of these Chapter 11 Cases, the

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Debtors need a professional with financial expertise to serve as an officer of the Debtors to perform

the services indicated in the Engagement Agreement.

        23.      The litigation between the Sandy Hook Plaintiffs and the defendants has been

acrimonious, littered with sanctions, and rages on unabated year after year. For example, when

Jones filed an offer of compromise pursuant to Connecticut procedure, the Connecticut plaintiffs

responded that the “so-called offer is a transparent and desperate attempt by Alex Jones to escape

a public reckoning under oath with his deceitful, profit-driven campaign against the plaintiffs and

the memory of their loved ones lost at Sandy Hook.” There is no reasonable prospect of a resolution

which allows for a fair distribution of recoveries to all affected parties.

        24.      Some of the defendants have faced and been hit with “death penalty” discovery

sanctions. Whether these problems were the result of bad faith or merely the lack of someone with

the adequate experience and ability,4 a qualified financial professional answering to independent

fiduciaries to wit, the Litigation Settlement Trustees, is necessary for any negotiations that will

result in a consensual plan that provides for payment in full to creditors.

          iii.   Reasons for Selection

        25.      The Debtors believe that the Proposed CRO is well qualified to provide

management services that will assist and enhance the Debtors’ efforts to maximize value to their

creditors.

        26.      Marc Schwartz is a licensed CPA with more than 40 years’ experience providing

expert witness and financial restructuring services. He frequently serves as a chief restructuring

officer, and as a federal and state court appointed receiver, in bankruptcy and non-bankruptcy




4
  For the avoidance of doubt, the Debtors reserve their rights to contest the sanctions on appeal absent consensual
resolution.

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proceedings. Mr. Schwartz is one of approximately 200 full members of the National Association

of Federal Equity Receivers. He understands how to be a fiduciary.

        iv.   Proposed Compensation & Reimbursement

       27.    The Debtor intends to file a motion to establish interim compensation procedures

in this case. The CRO proposes to apply to the Court for allowance of compensation and

reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy Code,

including sections 330 and 331, the Bankruptcy Rules, the Bankruptcy Local Rules, and any

interim compensation order entered in these Chapter 11 Cases.

       28.    Subject to the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

and the Bankruptcy Local Rules, the Debtors propose to pay on an hourly basis the Proposed CRO

and SALLC from funds of the Litigation Settlement Trust, as set out in the Engagement Agreement

and summarized in the following chart:

                 BILLER                                              RATE
      W. Marc Schwartz (Proposed CRO)                           $690.00 per hour
           M. Christian Schwartz                                $470.00 per hour
                 Managers                                       $350.00 per hour
                 Associates                                     $280.00 per hour
                  Analysts                                      $210.00 per hour
            Administrative Staff                                 $95.00 per hour

       29.    Additionally, the Engagement Agreement provides that the Debtors shall be

responsible for the reasonable and necessary documented out-of-pocket costs and expenses

incurred by Proposed CRO and SALLC in connection with the engagement. SALLC will submit

detailed documentation of all expenses incurred in connection with requests for reimbursement.

       30.    The Debtors believe that the agreed terms of reimbursement, compensation, and

hourly rates are reasonable. The CRO will notify the Debtors of any change in the hourly rates

charged for services rendered while the Chapter 11 Cases are pending.



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             v.     Retainer

           31.      The Debtors engaged the Proposed CRO prior to the Petition Date. The CRO

received a retainer of $50,000 (the “Retainer”). The Proposed CRO has worked against the

Retainer, and, as of the Petition Date, the amount remaining in the Retainer is approximately

$20,018.00.5

           32.      Pursuant to the Engagement Agreement, the Debtors propose that SALLC will hold

the Retainer to be applied to SALLC’s final fees and expenses at the conclusion of the engagement.

The Proposed Order modifies the Engagement Agreement such that the Proposed CRO and

SALLC shall not draw on the Retainer except upon order of the Court awarding final compensation

and reimbursement in the Chapter 11 Cases.

             vi.    Connections

           33.      The Schwartz Declaration sets out the connections of the Proposed CRO and

SALLC with the Debtors, creditors, any other party in interest, their respective attorneys and

accountants, the United States Trustee, and any person employed in the office of the United States

Trustee. To the best of the Debtors’ knowledge, neither the Proposed CRO nor SALLC hold any

connections other than those disclosed in the Schwartz Declaration.

           34.      The Debtors believe that neither the Proposed CRO nor SALLC holds or represents

any disqualifying interest that is adverse to the estate and each is a “disinterested person.” If any

new relevant facts or relationships are discovered, the Proposed CRO and SALLC will supplement

its disclosure to the Court and the U.S. Trustee.




5
    The CRO will furnish the exact number left in the Retainer at any hearing on this Application or in a supplement.

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                                        RELIEF REQUESTED

         35.    The Debtors request that the Court enter an order substantially in the form of the

Proposed Order authorizing the Debtors to retain the Proposed CRO and SALLC, effective as of

the Petition Date pursuant to the terms of the Engagement Agreement, as modified by the Proposed

Order.

                                         BASIS FOR RELIEF

         36.    Subject to bankruptcy court approval, Bankruptcy Code § 327(a) authorizes

trustees—and debtors-in-possession—to “employ one or more attorney’s accountants, appraisers,

auctioneers, or other professional persons, that do not hold or represent an interest adverse to the

estate, and that are disinterested persons, to represent or assist the trustee in carrying out the

trustee’s duties . . . .” Bankruptcy Code § 327(c) says that “[i]n a case under chapter 7, 12, or 11

of this title, a person is not disqualified for employment under this section solely because of such

person’s employment by or representation of a creditor, unless there is objection by another

creditor or the United States trustee, in which case the court shall disapprove such employment if

there is an actual conflict of interest.”

         37.        Bankruptcy Rule 2014 requires certain disclosures prior to the entry of an order

approving the employment of a professional. According to Bankruptcy Rule 2014, the application

must:

               a.      Be filed by the trustee or committee and served on the United States Trustee
                       (except in cases under chapter 9 of the Bankruptcy Code);

               b.      State the specific facts showing the necessity for the employment, the name of
                       the person to be employed, the reasons for the selection, the professional
                       services to be rendered, any proposed arrangement for compensation, and, to
                       the best of the applicant's knowledge, all of the person's connections with the
                       debtor, creditors, any other party in interest, their respective attorneys and
                       accountants, the United States Trustee, or any person employed in the office of
                       the United States Trustee; and


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             c.    Be accompanied by a verified statement of the person to be employed setting
                   forth the person’s connections with the debtor, creditors, any other party in
                   interest, their respective attorneys and accountants, the United States trustee, or
                   any person employed in the office of the United States trustee.

   A. The Proposed CRO and SALLC Meet the Requirements of Bankruptcy Code § 327(a)

       38.     Based on the Schwartz Declaration, the Debtors submit that neither the Proposed

CRO nor SALLC hold or represent any disqualifying adverse interest and is a “disinterested

person” as that term is defined in § 101(14) of the Bankruptcy Code.

       39.     The Bankruptcy Code defines what it means to be a “disinterested person”

Bankruptcy Code § 101(14):

               The term “disinterested person” means a person that— (A) is not a
               creditor, an equity security holder, or an insider; (B) is not and was
               not, within 2 years before the date of the filing of the petition, a
               director, officer, or employee of the debtor; and (C) does not have
               an interest materially adverse to the interest of the estate or of any
               class of creditors or equity security holders, by reason of any direct
               or indirect relationship to, connection with, or interest in, the debtor,
               or for any other reason.

       40.     The Schwartz Declaration discloses no connections with the Debtors that would

disqualify the Proposed CRO or SALLC as a “disinterested person” and the Debtors are aware of

no connections in addition to those disclosed in the Schwartz Declaration.

   B. This Application and the Schwartz Declaration Meet the Requirements of
      Bankruptcy rule 2014.

       41.     This Application and the Schwartz Declaration meet the requirements as set out in

Bankruptcy Rule 2014. The Application is made by the Debtors and sets out the necessity for the

employment, the name of the person to be employed, the reasons for the selection, the professional

services to be rendered, the proposed arrangement for compensation. The Schwartz Declaration is

a verified statement pursuant to 28 U.S.C. § 1746 that sets out all connections that the Proposed

CRO and SALLC has with the Debtors, creditors, any other party in interest, their respective


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attorneys and accountants, the U.S. Trustee, or any person employed in the office of the U.S.

Trustee. The Debtors are not aware of any other connections in addition to those disclosed in the

Schwartz Declaration.

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                                       CONCLUSION

       WHEREFORE, the Debtors respectfully request that the Court enter an order substantially

in the form of the Proposed Order approving the employment of the Proposed CRO and SALLC

effective as of the Petition Date, pursuant to the terms of the Engagement Agreement and grant

any other appropriate relief.

Dated: April 18, 2022                              PARKINS LEE & RUBIO LLP

                                                   /s/R.J. Shannon
                                                   Kyung S. Lee
                                                   TX Bar No. 12128400
                                                   R.J. Shannon
                                                   TX Bar No. 24108062
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                                                   Phone: 713-715-1660
                                                   Fax: 713-715-1699

                                                   Proposed Counsel to the Debtors and
                                                   Debtors-in-Possession




                                CERTIFICATE OF ACCURACY

      I hereby certify that the foregoing statements are true and accurate to the best of my
knowledge and belief. This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).



                                                   /s/R.J. Shannon                          .
                                                   R.J. Shannon




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 18, 2022, a true and correct copy of the foregoing document
was served by (a) the Court’s CM/ECF system on all parties registered to receive such service, (b)
by U.S.P.S. first class mail on the parties indicated in the attached service list, and (c) the following
parties by email:

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